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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                            Chapter 11
CELSIUS NETWORK LLC, et al., 1
                                                                  Case No. 22-10964 (MG)
                                  Debtors.
                                                                  Jointly Administered

CELSIUS NETWORK LIMITED and
CELSIUS KEYFI LLC,
                                                                  Adversary Proceeding
                                  Plaintiffs,                      No. 22-01139 (MG)
                        v.

JASON STONE and KEYFI, INC.,

                                  Defendants.


                       AMENDED TEMPORARY RESTRAINING ORDER

        This matter coming before the Court on the motion (the “Motion”) [ECF No. 21] filed by

Celsius Network Limited and Celsius KeyFi, LLC (together, the “Plaintiffs” or “Celsius”) on

November 14, 2022, seeking an order preliminarily enjoining Jason Stone, KeyFi, Inc.

(collectively the “Defendants”) and any of their officers, agents, servants, employees, attorneys,

and any other persons who are in active concert or participation with the Defendants or with any

of the Defendants’ officers, agents, servants, employees, and attorneys (collectively the “Stone

Parties”) from engaging in certain conduct as identified in the Motion; the Court having reviewed

the materials submitted in support of the Motion, including the accompanying memorandum of

law, declarations, and evidence; and the Court having held an evidentiary hearing on January 11


1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are: Celsius Network LLC (2148); Celsius KeyFi LLC (4414); Celsius Lending LLC (8417); Celsius
    Mining LLC (1387); Celsius Network, Inc. (1219); Celsius Network Limited (8554); Celsius Networks Lending
    LLC (3390); and Celsius US Holding LLC (7956). The location of Debtor Celsius Network LLC’s principal
    place of business and the Debtors’ service address in these chapter 11 cases is 50 Harrison Street, Suite 209F,
    Hoboken, New Jersey 07030.
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and 12, 2023, to consider the relief requested in the Motion (the “Hearing”); the Court having “so-

ordered” the transcript of the January 12, 2023 hearing in order to effectuate an immediate

temporary restraining order pending entry of the instant order; and upon the record of the Hearing,

and upon all of the proceedings had before the Court; and the Court having found that (a) the Court

has jurisdiction over this matter pursuant to 28 U.S.C. 1334; (b) due and proper notice of the

Motion has been given in accordance with the Amended Final Order (I) Establishing Certain

Notice, Case Management, and Administrative Procedures and (II) Granting Related Relief [Case

No. 22-01139, ECF No. 1181] (the “CMO”); (c) service of the Motion was proper under Federal

Rule of Civil Procedure 5 as made applicable by Bankruptcy Rule 7005 and the CMO; (d) post-

trial briefing is warranted to assist the Court in its evaluation of the Motion; and (e) that an order

granting, on a temporary basis, relief sought by the Motion that was not already granted pursuant

to the December 16, 2022 Joint Stipulation and Agreed Order [ECF No. 52] is warranted while the

Motion is pending and until further order of the Court.

IT IS HEREBY ORDERED THAT:

        1.       Beginning on the date of the Hearing and continuing until otherwise ordered by this

Court, the Stone Parties are restrained and enjoined from (a) transferring or otherwise disposing

of any Property, including any Stone Utilized Assets and any Subject Property 2 and (b) using

Tornado Cash or other means to conceal the location of any property that could otherwise be

available to satisfy a judgment in this case. 3 For the avoidance of doubt, the conduct restrained


2
    “Celsius Wallets” are the blockchain wallets in which Celsius deposited digital assets for deployment in
    authorized staking and decentralized finance activities by the Defendants, and to which Celsius supplied the seed
    phrase and/or private keys to the Defendants. “Stone Utilized Assets” refers to any assets removed or otherwise
    used by, or at the direction of, the Defendants from any Celsius Wallet. “Subject Property” refers to NFTs,
    interests in blockchain related companies, and any other property of any kind acquired in whole or in part with
    Stone Utilized Assets or their proceeds. “Property” refers collectively to the Stone Utilized Assets and the Subject
    Property.
3
    “Tornado Cash” refers to the virtual currency mixer sanctioned by the U.S. Department of the Treasury’s Office
    of Foreign Assets Control (OFAC) on August 8, 2022.
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and enjoined by this Temporary Restraining Order (“TRO”) includes (but is not necessarily limited

to) any transfer or other disposition of (a) any property identified in the Revised Affidavit of Jason

Stone Pursuant to Joint Stipulation and Agreed Order [ECF No. 52] and its asset spreadsheet

Exhibits, as submitted to this Court as Plaintiffs’ Exhibits PX0064, PX0065, PX0068, PX0069,

and PX0070; as well as (b) the following property (and any proceeds of such property) currently

located in a wallet controlled by Defendants’ co-counsel, Freedman Normand Friedland LLP

(“FNF”)               with               address              0x3bf4089C7D080C04233007C3577

062d5c0Df9fa6 (the “FNF Wallet”): (i) 100,000 USDC transferred on January 9, 2023 by

Defendants from a wallet with address 0x50dd57F50A17d57304e7A4F262Da30bEB31C2E87

(the “0x50dd Wallet”) to the FNF Wallet; (ii) the NFT known as the Mutant Hound Collar #1041

(“MHC 1041”) transferred by Defendants from the 0x50dd Wallet to the FNF Wallet on February

15, 2023 and; (iii) the NFT known as Mutant Ape Yacht Club #4849 (“MAYC 4849”) transferred

by Defendants from the 0x50dd Wallet to the FNF Wallet on June 27, 2022; and (iv) any NFT or

other property that may be minted, claimed, created with or by, or otherwise relating to the MHC

1041 and MAYC 4849 (the “Mutant Hound”), provided, however, that after any such NFT or other

property is minted, claimed, or created, if Celsius in writing requests them to do so, the Defendants

shall promptly transfer back to the 0x50dd Wallet MHC 1041, and/or any Mutant Hound minted

with MHC 1041, which property shall remain subject to the TRO once so transferred. For the

further avoidance of doubt, nothing herein limits any of Celsius’ rights, remedies, claims or

defenses concerning any Property, including but not limited to any such rights, remedies, claims

or defenses relating to any of the transfers referenced in this paragraph.

       2.      The Stone Parties have represented that the Property identified on Exhibit A hereto

(the “Exhibit A Property”) is currently deployed in certain decentralized finance (“DeFi”) activities
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(the “Positions”). The Court, having overruled Celsius’ objection to the Stone Parties being

permitted to continue deploying any Property during the period of this TRO, orders that the Stone

Parties may during the course of the TRO or until further order of the Court continue to deploy the

Exhibit A Property in the Positions.

       3.      To the extent any Stone Party believes in good faith that one or more additional,

related transactions may need to be performed while this TRO is in effect to avoid an adverse

financial event such as a liquidation, including, without limitation, any deployment of Property

not identified on Exhibit A, the Stone Parties shall serve a request (a “Request”) in writing on

Celsius and the Official Committee of Unsecured Creditors (the “UCC”), care of their respective

counsel, to engage in such transaction(s), including by specifying the transaction(s) in which they

wish to engage (the “Identified Transaction(s)”), and detailing the alleged consequences of

entering or not entering into the Identified Transaction(s) or other reason that the Stone Parties

propose entering into the Identified Transaction(s). Celsius and the UCC may object to an

Identified Transaction for any reason. If either Celsius or the UCC serves an objection (which may

be by email) within two business days (“Notice Period”) of the Request (an “Objection”), the

objecting party, the Stone Parties and Celsius shall meet and confer in an effort to resolve the

dispute within two business days. If no such consensual resolution is reached within two business

day of commencement of the meet and confer, any of the objecting party, the Stone Parties, Celsius,

or the UCC may request a telephonic or zoom conference with the Court to seek its guidance in

resolving the dispute. If the Notice Period passes without the service of an Objection, the Stone

Parties may proceed with the Identified Transaction(s). For the avoidance of doubt, the Stone

Parties will not engage in any such Identified Transaction(s) unless the Notice Period passes

without objection, or the Stone Parties receive express written consent from the objecting party or
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parties, if any, or authorization from the Court. Any evidence sought to be offered by any Stone

Party that Celsius and/or the UCC elected not to object, or withdrew an Objection, to an Identified

Transaction(s) requested pursuant to this paragraph shall be inadmissible in any continuing or

future litigation between the parties, and no inference shall be claimed or drawn against Celsius in

any such proceeding based on any action or inaction by Celsius and/or the UCC in connection with

any Identified Transaction(s).

       4.      If such an event occurs at a time and or speed where following the procedures set

forth in paragraph 3 is not feasible, the Stone Parties may elect to add their own assets to the

relevant crypto wallets, and reserve their right to argue that any assets added in such a way will

not be considered subject to this TRO. For the avoidance of doubt no assets of any kind will be

transferred out of the relevant crypto wallet or otherwise disposed of during the period of this TRO

except in accordance with a further order of the Court.           Any revenue, income, earnings,

appreciation, yield or gains of any kind whatsoever resulting from DeFi activities involving any

Property or the Positions, including, without limitation, interest / incentive rewards that accrue on

the Positions shall constitute Property within the meaning of this TRO, shall be subject to this TRO

and shall not be moved or otherwise transferred out of the relevant crypto wallet.

       5.      Beginning on Friday, February 17, 2023, and continuing every two weeks thereafter

while this TRO is in effect, the Stone Parties shall send to Celsius and the UCC, care of their

respective counsel, a then-current statement of profits and losses associated with the activities

permitted under this TRO (“Report”), including, without limitation a summary of the Positions

and any interest / incentive rewards that accrue on the Positions. The Stone Parties will also include

in this Report a list and description of any transactions executed in connection with the Positions,

including any Identified Transactions executed pursuant to Paragraph 2 of this TRO. Celsius and
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the UCC may share the Report, including the summary, with parties-in-interest in its bankruptcy

cases.

         6.    Any party or entity subject to this TRO may seek a hearing in this Court upon five

days’ notice seeking to modify this TRO as to such party or entity, or clarifying the obligations

under this TRO.

         7.    Pursuant to Federal Rule of Civil Procedure 65(b), made applicable to this

adversary proceeding pursuant to Bankruptcy Rule 7065, no additional notice to any person is

required prior to entry and issuance of this TRO.

         8.    Pursuant to Bankruptcy Rule 7065, the security provisions of Federal Rule of Civil

Procedure 65(c) are waived.

         9.    Plaintiffs are authorized and empowered to take such action as may be necessary to

implement and effectuate this TRO.

         10.   Notwithstanding Federal Rule of Civil Procedure 65, Bankruptcy Rule 7065, or any

other applicable rule, this TRO shall remain effective and enforceable until further order of the

Court. The Defendants consent to extending the TRO for the period necessary for the Court to

consider the parties’ post-Hearing submissions and determine the Motion.



IT IS SO ORDERED:

Dated: March 15, 2023
       New York, New York
                                                     _____/s/ Martin Glenn_______
                                                            MARTIN GLENN
                                                    Chief United States Bankruptcy Judge
